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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                   4:08CR3148-8
                                            )
              v.                            )
                                            )
ANGEL M. KOSKI,                             )                 MEMORANDUM
                                            )                  AND ORDER
                     Defendant.             )

       I held a hearing today via telephone to discuss the concerns of the Bureau of Prisons
regarding the safety and welfare of the defendant’s unborn child. The following persons
participated: the defendant; defense counsel; the prosecutor; Deputy Ryan Thompson, United
States Marshals Service; Dr. Yanez, Bureau of Prisons; and Commander McGee, Bureau of
Prisons. After considering the views of these participants,

       IT IS ORDERED that:

       1.     The United States Marshals Service shall return the defendant to the State of
              Nebraska, but the defendant shall remain in detention until further order of this
              court.

       2.     The defendant shall have no contact with her children until further order of the
              court. The Assistant United States Attorney handling this case shall contact
              Child Protective Services in Nebraska to determine the present status of the
              defendant’s children and whether the defendant may have contact with those
              children. After that inquiry is completed, the Assistant United States Attorney
              shall advise the undersigned, defense counsel and Ryan Thompson of the
              results.

       3.     Mr. Thompson shall investigate whether the defendant can be held in a
              Nebraska detention facility pending the birth of her child. It is my request that
              the defendant be held in Nebraska if at all possible so that when the defendant
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           gives birth to her child, any then pending Nebraska child custody proceedings
           regarding the defendant’s older children may be expanded to include the infant.

     4.    A hearing is scheduled for Monday, June 8, 2009, at 12:00 noon. At that time,
           I will resolve all matters called to my attention that are germane to this case
           including the following:

           A.     Is the defendant competent to proceed?

           B.     How should this case be progressed?

           C.     Should the defendant be allowed to have contact with any
                  of her children?

           D.     Should the defendant remain in detention and, if so,
                  where should she be detained?

           E.     What arrangements should be made to address the
                  impending birth of the defendant’s child?

     5.    Mr. Thompson is requested to attend the hearing to advise me regarding the
           proper placement of the defendant.

     6.    My judicial assistant shall provide copies of this memorandum and order to
           Judge Piester, Mr. Thompson, Dr. Yanez and Commander McGee.

     DATED this 20th day of May, 2009.

                                       BY THE COURT:

                                       s/Richard G. Kopf
                                       United States District Judge



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